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  EXHIBIT A




                                                           EXHIBIT A
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                       In The Matter Of:
                      ROWLETTE, et al. vs.
                     MORTIMER, M.D., et al.




                 GERALD E. MORTIMER, M.D.
                     December 11, 2018
                      Video Deposition



                      T&T Reporting, LLC
                  477 Shoup Avenue, Suite 105
                   Idaho Falls, Idaho 83402




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                              Video Deposition

                                                                        1

 1                   UNITED STATES DISTRICT COURT

 2                     FOR THE DISTRICT OF IDAHO

 3   KELLI ROWLETTE, an individual,                  )
     SALLY ASHBY, an individual, and                 )
 4   HOWARD FOWLER, an individual,                   ) Cause No.
                                                     ) 4:18-CV 00143
 5                         Plaintiffs,               ) DCN
     vs.                                             )
 6                                                   )
                                                     )
 7                                                   )
     GERALD E. MORTIMER, M.D., LINDA G.              )
 8   MCKINNON MORTIMER, and the marital              )
     community comprised thereof, and                )
 9   OBSTETRICS AND GYNECOLOGY                       )
     ASSOCIATES OF IDAHO FALLS, P.A., an             )
10   Idaho professional corporation,                 )
                                                     )
11                         Defendants.               )

12
13             DEPOSITION OF GERALD E. MORTIMER, M.D.

14             Tuesday, December 11, 2018, 9:00 a.m.

15                          Idaho Falls, Idaho

16
17

18
              BE IT REMEMBERED that the deposition of
19   Gerald E. Mortimer, M.D. was taken by the attorney
     for the plaintiffs at the office of Thomsen Holman
20   Wheiler, PLLC, located at 2635 Channing Way, Idaho
     Falls, Idaho, before Amber S. Williams, Court
21   Reporter and Notary Public, in and for the State of
     Idaho, in the above-entitled matter.
22

23

24

25

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                                                                        2

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22   Also Present:
              Sally Ashby
23            Howard Fowler

24

25

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                                                                                  5

           1                   (The deposition proceeded at 9:00 a.m.

           2   as follows:)

09:00AM    3             THE VIDEOGRAPHER:       We will now go on the

09:00AM    4   record.    My name is John Terrill, the video

09:00AM    5   technician, and Amber Williams is the court reporter

09:00AM    6   from T&T Reporting at 477 Shoup Avenue, Suite 105,

09:00AM    7   Idaho Falls, Idaho.

09:00AM    8                   We are here today, December 11, 2018, at

09:00AM    9   approximately at 9:00 a.m. Mountain time at the

09:01AM   10   office of Thomsen Holman Wheiler, PLLC, 2635 Channing
09:01AM   11   Way, Idaho Falls, Idaho to videotape the deposition

09:01AM   12   of Gerald E. Mortimer, M.D., being taken in the
09:01AM   13   instance of the plaintiff in the matter of Rowlette,

09:01AM   14   et al, plaintiffs, versus Mortimer, M.D., et al,

09:01AM   15   defendants, Case -- or Cause No. 4:18-cv-00143-DCN in

09:01AM   16   the United States District Court for the District of
09:01AM   17   Idaho.

09:01AM   18                   The court reporter will now swear in the

09:01AM   19   witness.

09:01AM   20                    Gerald E. Mortimer, M.D.,

09:01AM   21   produced as a witness at the instance of the
09:01AM   22   plaintiffs, having been first duly sworn, was

09:01AM   23   examined and testified as follows:

09:01AM   24             THE VIDEOGRAPHER:       Will counsel please

09:01AM   25   introduce themselves and the parties they represent.

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                                                                                  6

09:01AM    1            MR. MEEHAN:      Shea Meehan here on behalf of

09:01AM    2   Howard Fowler and Sally Ashby.

09:01AM    3            MR. POWERS:      Ray Powers on behalf of

09:02AM    4   Dr. Gerald Mortimer.

09:02AM    5            MS. RAUER:      Portia Rauer here on behalf of

09:02AM    6   Gerald Mortimer.

09:02AM    7            MR. HALL:     Blake Hall on behalf of

09:02AM    8   Dr. Mortimer.

09:02AM    9            MR. FRIESS:      Richard Friess on behalf of

09:02AM   10   Obstetrics & Gynecology Associates of Idaho Falls.
09:02AM   11            THE VIDEOGRAPHER:        Okay.    Go ahead and

09:02AM   12   proceed.
09:02AM   13                        E X A M I N A T I O N

09:02AM   14   BY MR. MEEHAN:

09:02AM   15            Q.     Dr. Mortimer, are you married?

09:02AM   16            A.     Yes.
09:02AM   17            Q.     What's your wife's name?

09:02AM   18            A.     Linda.

09:02AM   19            Q.     And how long have you been married?

09:02AM   20            A.     I've been married 52 years.

09:02AM   21            Q.     And what's your -- what's the date of
09:02AM   22   your wedding?

09:02AM   23            A.     It was the -- well, let me -- let me

09:02AM   24   think a minute.      It was June of '67.

09:03AM   25            Q.     Do you have a specific day in June of

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09:07AM    1   Linda Mortimer?

09:07AM    2            A.     We have four children.

09:07AM    3            Q.     What are the names of your four

09:07AM    4   children?

09:07AM    5            A.     Tom, Amy, Andy, Carol.

09:07AM    6            Q.     What's Tom's middle name?

09:07AM    7            A.     Dee, D-e-e.

09:07AM    8            Q.     Last name is Mortimer?

09:07AM    9            A.     Mortimer.

09:07AM   10            Q.     What's Amy's middle name?
09:07AM   11            A.     Lynn.

09:08AM   12            Q.     What's her last name?
09:08AM   13            A.     It's now Walton.

09:08AM   14            Q.     Andy's middle name?

09:08AM   15            A.     Dean, D-e-a-n.

09:08AM   16            Q.     And last name is Mortimer?
09:08AM   17            A.     Yes.

09:08AM   18            Q.     And what's Carol's middle name?

09:08AM   19            A.     Lee.

09:08AM   20            Q.     And what's her last name?

09:08AM   21            A.     Blatter, B-l-a-t-t-e-r.
09:08AM   22            Q.     When was Tom born?

09:08AM   23            A.     He was born -- let me think.           Sorry.      My

09:08AM   24   memory is not good this morning.

09:08AM   25                   He was born June 15th.

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09:09AM    1             Q.    Of what year?

09:09AM    2             A.    Sorry.    My memory is not good this

09:09AM    3   morning.

09:09AM    4             Q.    You say your memory is no good this

09:09AM    5   morning.    What do you mean?

09:09AM    6             A.    Well, I'm having trouble remembering

09:09AM    7   things this morning.

09:09AM    8             Q.    Okay.    Is there any medical diagnosis

09:09AM    9   that would impact your ability to remember?

09:09AM   10             A.    I'm a diabet- -- I'm a diabetic.
09:09AM   11             Q.    Okay.    Any other medical diagnosis that

09:09AM   12   might impact your ability to remember?
09:09AM   13             A.    I have some mild blood pressure issues

09:09AM   14   that I take medication for.

09:09AM   15             Q.    Any other medical issues that would

09:09AM   16   impact your ability to remember today?
09:10AM   17             A.    I don't think so, other than being

09:10AM   18   nervous.

09:10AM   19             Q.    Was Tom born the year after you were

09:10AM   20   married?

09:10AM   21             A.    Two years after.
09:10AM   22             Q.    Okay.    So does it ring a bell that he

09:10AM   23   would have been born June 15th, 1969?

09:10AM   24             A.    Yes.    That is correct.

09:10AM   25             Q.    When was Amy born?

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09:10AM    1             A.    In '71.

09:10AM    2             Q.    What day in '71?

09:10AM    3             A.    Sorry.    I'm really struggling this

09:10AM    4   morning.

09:11AM    5             Q.    Is your problem with memory this morning

09:11AM    6   going to impact your ability to tell the truth?

09:11AM    7             A.    No.

09:11AM    8             Q.    How old is Amy?

09:11AM    9             A.    She would be -- she would be 41.

09:11AM   10             Q.    So she's born in 1971, and she's --
09:11AM   11             A.    That sounds --

09:11AM   12             Q.    And she's 41 years old?
09:11AM   13             A.    Well, she would not be.

09:11AM   14             Q.    No.

09:11AM   15             A.    No.    Sorry.

09:11AM   16             Q.    When was Andy born?
09:11AM   17             A.    He was born in '75.

09:11AM   18             Q.    When in '75?

09:12AM   19             A.    His birthday is also in June.

09:12AM   20             Q.    Okay.    A specific day in June?

09:12AM   21             A.    I think it's June 15.
09:12AM   22             Q.    So Tom and Andy share a birthday?

09:12AM   23             A.    They're -- they do.

09:12AM   24             Q.    And when was Carol born?

09:12AM   25             A.    She was born in '75, I think.

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09:30AM    1   providers you've seen in the last five years?

09:30AM    2             A.    Gene Hodges.

09:30AM    3             Q.    Any others?

09:30AM    4             A.    No.

09:30AM    5             Q.    So Gene Hodges is the only medical

09:30AM    6   provider you have seen in the last five years?

09:30AM    7             A.    That's correct.       That's correct.

09:30AM    8             Q.    You consider him your doctor?

09:30AM    9             A.    Yes.

09:31AM   10             Q.    Does he have a -- well, how would you
09:31AM   11   describe his practice?

09:31AM   12             A.    He's, as far as I know, a solo
09:31AM   13   practitioner that practices general practice.

09:31AM   14             Q.    In this case I have served on your

09:31AM   15   attorneys, or served upon you through your attorneys,

09:31AM   16   interrogatories and requests for production of
09:31AM   17   documents.     Are you aware of that?

09:31AM   18             A.    Yes.

09:31AM   19             Q.    And I have also served upon you requests

09:32AM   20   for admission.      Are you aware of that?

09:32AM   21             A.    I don't understand that.
09:32AM   22             Q.    Okay.    Are you aware that your counsel

09:32AM   23   provided yesterday updated responses to discovery?

09:32AM   24             A.    They informed me of that.

09:32AM   25             Q.    They informed you?

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09:32AM    1             A.    Yes.    Today.

09:32AM    2             Q.    Okay.    Are you aware of what those

09:32AM    3   changes are?

09:32AM    4             A.    I -- I believe there was a change in --

09:32AM    5   in a -- in a statement that I made that --

09:32AM    6             THE WITNESS:      I have to refresh my memory.

09:32AM    7             MR. POWERS:     He gets to ask the questions.

09:33AM    8             Q.    BY MR. MEEHAN:       What statement had you

09:33AM    9   made that needed to be changed?

09:33AM   10             A.    I needed to --
09:33AM   11             THE WITNESS:      Help me with this.

09:33AM   12             MR. POWERS:     I can't.     I can't help you.        You
09:33AM   13   need to do your best to try to --

09:33AM   14             THE WITNESS:      Okay.

09:33AM   15             MR. POWERS:     -- answer the questions.

09:33AM   16             THE WITNESS:      Ask me -- ask me the question
09:33AM   17   again, please.

09:33AM   18             MR. POWERS:     Pay attention to the question.

09:33AM   19             THE WITNESS:      Okay.

09:33AM   20             Q.    BY MR. MEEHAN:       You said that you needed

09:33AM   21   to make a change in a statement you had made.               What
09:33AM   22   statement had you made that needed to be changed?

09:33AM   23             A.    I needed to change the fact that I

09:33AM   24   had -- that I had been a donor.

09:33AM   25             Q.    So previously you had stated that you

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09:34AM    1   had not been a donor?

09:34AM    2             A.    That's correct.

09:34AM    3             Q.    And that wasn't true?

09:34AM    4             A.    That was not true.

09:34AM    5             Q.    And you knew at the time you made that

09:34AM    6   statement that it wasn't true?

09:34AM    7             A.    That's correct.

09:34AM    8             Q.    So you had lied?

09:34AM    9             A.    Yes.

09:34AM   10             Q.    Now, do you understand that you are
09:34AM   11   under oath today?

09:34AM   12             A.    Yes.
09:34AM   13             Q.    And do you understand that being under

09:34AM   14   oath means that you have sworn that you will tell the

09:34AM   15   truth today?

09:34AM   16             A.    I understand that.
09:35AM   17             Q.    What does telling the truth mean to you?

09:35AM   18             A.    That I need to tell you, from the best

09:35AM   19   of my memory and recollection -- recollection, the

09:35AM   20   things that I know to be correct or true; that I

09:35AM   21   should not lie to you in any way.
09:35AM   22             Q.    Why did you lie previously?

09:35AM   23             A.    I was ashamed, or -- you know.

09:35AM   24             Q.    Why were you ashamed?

09:35AM   25             A.    Well, I -- I -- I regret the fact that

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09:49AM    1             A.    But I don't remember for sure.            May be

09:49AM    2   more than one or two -- may have been more than one

09:49AM    3   or two times.

09:49AM    4             Q.    Are you aware that Ancestry.com

09:49AM    5   predicted a parent/child relationship between you and

09:49AM    6   Kelli Rowlette?

09:49AM    7             A.    Yes.

09:49AM    8             Q.    Okay.    And I'll represent to you that

09:49AM    9   the document that you've been provided as Exhibit *-1

09:49AM   10   is from Ancestry.com, and it predicts a parent/child
09:50AM   11   relationship with Gerald Elbert Mortimer.

09:50AM   12                   Do you see that?
09:50AM   13             A.    Yes.

09:50AM   14             Q.    Okay.    And I'll represent to you that

09:50AM   15   this was provided to me by Kelli Rowlette from her

09:50AM   16   account.
09:50AM   17                   Are you aware of any reason that

09:50AM   18   Ancestry.com would predict you to be Kelli Rowlette's

09:50AM   19   biological father, other than the fact that you are

09:50AM   20   actually Kelli Rowlette's biological father?

09:50AM   21             A.    I can't think of any other reason.
09:50AM   22             Q.    Are you Kelli Rowlette's biological

09:50AM   23   father?

09:50AM   24             A.    I -- yes.     I think I am.

09:50AM   25             Q.    At this time, you have no reason to

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09:50AM    1   believe otherwise?

09:50AM    2             A.    I have no reason otherwise.

09:51AM    3             Q.    Okay.    At one time, I had been told that

09:51AM    4   you had agreed to traditional paternity testing with

09:51AM    5   a laboratory.      Did you ever agree that you -- to

09:51AM    6   determine your relationship with Kelli Rowlette, did

09:51AM    7   you ever agree to do that?

09:51AM    8             A.    I don't remember agreeing to do that.

09:51AM    9             Q.    So if I were -- if I had been told that

09:51AM   10   you had agreed to do that, I was being misinformed?
09:51AM   11             A.    No.    I think I did -- I think you were

09:51AM   12   not misinformed.       I think I -- that is correct.
09:51AM   13             Q.    So you did at one time agree that you

09:51AM   14   would have a paternity test to definitively determine

09:51AM   15   whether --

09:51AM   16             A.    Yes.
09:51AM   17             Q.    -- Kelli Rowlette was your biological

09:51AM   18   daughter?

09:51AM   19             A.    Yes, as I remember now.

09:52AM   20             Q.    Okay.

09:52AM   21             A.    I'm sorry.      My memory is -- takes a
09:52AM   22   minute to remember things.

09:52AM   23             Q.    I don't want to know anything that your

09:52AM   24   attorneys have told you.         That's not what I'm asking,

09:52AM   25   so I just want to be clear for my next question.

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09:52AM    1             MR. POWERS:     So he's prefacing the question

09:52AM    2   with that precaution, and what he's saying is, what

09:52AM    3   you and I have talked about -- that discussions we

09:52AM    4   have had between us and between your counsel are

09:52AM    5   attorney-client privileged.          So this next question,

09:52AM    6   you need to keep that in mind.           And what he's telling

09:52AM    7   you is that he doesn't want you or expects you to

09:52AM    8   offer up any answer that involves communications

09:52AM    9   you've had with me.       But if you have an answer that

09:52AM   10   could be responsive to the question that doesn't
09:52AM   11   involve communications with me or my office, then you

09:53AM   12   may be permitted to answer.          So pay attention to the
09:53AM   13   question.

09:53AM   14             MR. HALL:     Or your personal attorney.

09:53AM   15             MR. POWERS:     Or his personal -- or your

09:53AM   16   personal attorney Mr. Hall.
09:53AM   17             Q.    BY MR. MEEHAN:       At sometime did you

09:53AM   18   change your mind with regard to your willingness to

09:53AM   19   undergo a paternity test to definitively determine

09:53AM   20   whether you were Kelli Rowlette's biological father?

09:53AM   21             A.    Yes.
09:53AM   22             Q.    Why?

09:53AM   23             A.    Initially I didn't want to do that, but

09:53AM   24   then I decided that would be the right thing to do.

09:53AM   25             Q.    What would be the right thing to do?

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09:53AM    1             A.    To be able to establish for her and for

09:53AM    2   me -- to have the truth come out, and to -- to have

09:53AM    3   that -- to have the truth come out is what I'm

09:54AM    4   saying, I guess.

09:54AM    5             Q.    You think it's important to have the

09:54AM    6   truth come out?

09:54AM    7             A.    Yes.

09:54AM    8             Q.    So at one time you had agreed to such a

09:54AM    9   test, and my understanding is now you do not agree to

09:54AM   10   such a test?
09:54AM   11             A.    I would -- I would be willing to have

09:54AM   12   the test.
09:54AM   13             Q.    Okay.    So without regard to -- I'm not

09:54AM   14   asking legalese.       You are willing to have a paternity

09:54AM   15   test done to definitively determine whether you are

09:54AM   16   Kelli Rowlette's biological father?
09:54AM   17             A.    I would agree with that.

09:54AM   18             Q.    Do you want that?

09:54AM   19             A.    I don't know that I want it to --

09:54AM   20   particularly.      I'm willing to -- willing to do it.

09:54AM   21             Q.    But even without that test, you believe
09:54AM   22   that you are Kelli Rowlette's biological father?

09:55AM   23             A.    Yes.

09:55AM   24             Q.    Are you aware that you had matched with

09:55AM   25   a predicted parent/child relationship on Ancestry.com

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10:12AM    1   that I have more than a -- just looking at a picture

10:12AM    2   situation, I don't know.          I don't know.

10:12AM    3             Q.    You don't -- still don't think she

10:12AM    4   resembles you?

10:12AM    5             A.    I don't see it.

10:12AM    6             Q.    Okay.

10:13AM    7                   (Exhibit *-3 marked.)

10:13AM    8             Q.    BY MR. MEEHAN:       Do you -- you've been

10:13AM    9   handed a set of photographs, three pages, that have

10:13AM   10   been marked as Exhibit *-3, correct?
10:13AM   11             A.    Okay.

10:13AM   12             Q.    Do you recognize the individuals in the
10:14AM   13   photographs that have been marked as Exhibit *-3?

10:14AM   14             MR. POWERS:     In any of them.

10:14AM   15             THE WITNESS:      No.

10:14AM   16             Q.    BY MR. MEEHAN:       Would it help your
10:14AM   17   recollection if I told you that these are photographs

10:14AM   18   of Howard Fowler and, then Sally Fowler, in the 1980

10:14AM   19   timeframe?

10:14AM   20             A.    That would help me.

10:14AM   21             Q.    Okay.    Knowing that, do you recognize
10:14AM   22   them?

10:14AM   23             A.    I -- I still don't really recognize

10:14AM   24   them, but I believe what you say.

10:14AM   25             Q.    Okay.    Now --

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10:15AM    1             A.    She does -- she does look familiar as I

10:15AM    2   look at her.

10:15AM    3             Q.    And do you agree that having a child is

10:15AM    4   a pretty special event?

10:15AM    5             A.    Of course.

10:15AM    6             Q.    Would you agree that impregnating

10:15AM    7   somebody is an intimate event without regard to the

10:15AM    8   mechanics of how it happens?

10:15AM    9             A.    Yes.

10:15AM   10             Q.    And do you recognize the young woman in
10:15AM   11   the photographs in Exhibit *-3 as a woman that you

10:15AM   12   inseminated with your own semen?
10:16AM   13             A.    No.    I don't.

10:16AM   14             Q.    Okay.

10:16AM   15             A.    She looks familiar, but I -- I don't

10:16AM   16   have a specific -- this does not bring any specific
10:16AM   17   memory to me.

10:16AM   18                   (Exhibit *-4 marked.)

10:16AM   19             Q.    BY MR. MEEHAN:       You've been handed a

10:17AM   20   document that's been marked Exhibit *-4.              Do you

10:17AM   21   recognize that document?
10:17AM   22             A.    I've never seen this document.

10:17AM   23             Q.    I'd ask you to look at the signature in

10:17AM   24   the center bottom of the page as you hold it there

10:17AM   25   landscape.     Do you see where it says "Attending

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10:53AM    1             Q.    Earlier you testified that you had lied.

10:53AM    2   Is this one of the lies that you had to correct?

10:53AM    3             A.    Let me -- let me make sure that we're

10:53AM    4   talking about the same thing.          What paragraph are we

10:53AM    5   talking about again?

10:53AM    6             Q.    Page 7, Response to Requests for

10:54AM    7   Production No. 18, second sentence, the clause that

10:54AM    8   states "Dr. Mortimer does not recall using his sperm

10:54AM    9   for artificial insemination."

10:54AM   10             A.    I -- I don't think that's accurate.
10:54AM   11             Q.    And it wasn't accurate at the time these

10:54AM   12   answers were provided, correct?
10:54AM   13             A.    I -- I do recall.

10:54AM   14             Q.    But my question is that statement was

10:54AM   15   not accurate at the time this document was provided

10:54AM   16   to us, correct?
10:54AM   17             A.    That would be correct.

10:54AM   18             Q.    And you knew that at that time, correct?

10:54AM   19             A.    I would have known it at that time, yes.

10:55AM   20             Q.    In Request for Production No. 5, you

10:56AM   21   were asked to produce color copies of a
10:56AM   22   representative sample of photographs of you between

10:56AM   23   1979 and 1981.      Do you see that?

10:57AM   24             A.    Number 5?

10:57AM   25             Q.    Correct.

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12:03PM    1             Q.    Okay.    And then I'm asking that you look

12:03PM    2   at this page in your response that has, in the lower

12:03PM    3   right-hand corner, "PTF 00036."

12:03PM    4             A.    That's this.

12:03PM    5             Q.    So you would agree that the document

12:03PM    6   that is marked as Exhibit *-10 is the same as one of

12:03PM    7   the documents that you produced for us?

12:03PM    8             A.    This is the same document.

12:03PM    9             Q.    Okay.    So on Exhibit *-10, you -- you

12:04PM   10   produced this document in discovery in this lawsuit.
12:04PM   11   Do you recall seeing this document before today?

12:04PM   12             A.    I can't tell you when I saw this, but it
12:04PM   13   looks familiar.      I don't know for sure.

12:04PM   14             Q.    Okay.

12:04PM   15             A.    I don't know what to tell you.

12:04PM   16             Q.    Do you recall receiving -- let -- let me
12:04PM   17   ask you first.      Read for the record the paragraph

12:04PM   18   that starts out "Well, clearly you are not."

12:04PM   19             A.    "Well, clearly you are not my father

12:04PM   20   like this says, but our DNA must be pretty similar.

12:05PM   21   I know very little about this as I just got my
12:05PM   22   results recently.       I don't know how accurate all of

12:05PM   23   this is, although it has told -- it has told me some

12:05PM   24   people are matches that I already knew were related

12:05PM   25   to me.    Not seeing any matches in our trees, but

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12:05PM    1   maybe we can figure out the connection.             Thank you."

12:05PM    2             Q.    Okay.    Do you recall receiving that

12:05PM    3   message through Match -- excuse me -- through

12:05PM    4   Ancestry.com?

12:05PM    5             A.    Yes.

12:05PM    6             Q.    Okay.    What was your reaction when you

12:05PM    7   saw this message?

12:05PM    8             A.    I guess a little bit of surprise.

12:06PM    9             Q.    Why?

12:06PM   10             A.    I don't know.       It just seemed surprising
12:06PM   11   to me to -- to see -- to see this.

12:06PM   12             Q.    Did you know that it was from a child
12:06PM   13   who was biologically yours?

12:06PM   14             A.    Yes.

12:06PM   15             Q.    Okay.    And you knew that at the time you

12:06PM   16   received it?
12:06PM   17             A.    Yes.

12:06PM   18             Q.    Why did you -- did you respond to this

12:06PM   19   message?

12:06PM   20             A.    I don't remember.

12:06PM   21             Q.    Do you know any reason that you would
12:06PM   22   have responded to                    but you didn't respond

12:06PM   23   to this message from Ms. Rowlette?

12:07PM   24             A.    I don't know.

12:07PM   25             Q.    Did you do anything to correct what you

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01:34PM    1   exhibit that is blank?

01:34PM    2             A.    Yes, the signature.        Yes.

01:34PM    3             Q.    Okay.    And -- but do you recall signing

01:34PM    4   a verification for that document?

01:34PM    5             A.    No.

01:34PM    6             Q.    Okay.

01:34PM    7             A.    But I'm -- remind me or help me.

01:35PM    8             Q.    Well, I was just handed two documents by

01:35PM    9   your attorney notarized by Blake Hall --

01:35PM   10             A.    Okay.
01:35PM   11             Q.    -- that are entitled "Verification."

01:35PM   12             A.    Okay.
01:35PM   13             Q.    One of which has on the footer,

01:35PM   14   "Mortimer's Supplemental Answers to Plaintiffs' First

01:35PM   15   Set of Interrogatories."

01:35PM   16             A.    Okay.
01:35PM   17             Q.    So did you, in fact, at some point

01:35PM   18   today, sign a verification of this document?

01:35PM   19             A.    I haven't signed anything today.

01:35PM   20             Q.    You haven't?      Okay.

01:35PM   21                   Did you sign something in front of Blake
01:35PM   22   Hall as a notary yesterday?

01:35PM   23             THE WITNESS:      I don't think so, did I?

01:35PM   24             MR. POWERS:     I don't know.

01:35PM   25             Q.    BY MR. MEEHAN:       Well, I was -- so if

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01:35PM    1   Blake Hall has notarized your signature on the 11th

01:36PM    2   of December, 2018, that is inaccurate?

01:36PM    3             A.    On here?     Or on --

01:36PM    4             Q.    On -- on the verification that I'm

01:36PM    5   holding in my hand.

01:36PM    6             A.    Oh, that is my signature, and that -- I

01:36PM    7   think that is correct that I signed that today.

01:36PM    8             Q.    You did sign this today?

01:36PM    9             A.    I think so.

01:36PM   10             Q.    Are you sure?       I'm a little concerned
01:36PM   11   because, just a minute ago, you said you hadn't

01:36PM   12   signed anything today.
01:36PM   13             A.    Well, my memory is bad.          Sorry.    So...

01:36PM   14             Q.    Is there any medical diagnosis beyond

01:36PM   15   what you've already divulged to me that would

01:36PM   16   impact -- that would explain your memory issues?
01:36PM   17             A.    I don't have a diagnosis except to say

01:37PM   18   that I -- I have some difficulties with my memory,

01:37PM   19   but I've -- I don't have a diagnosis for you.

01:37PM   20             Q.    Okay.

01:37PM   21             A.    But...
01:37PM   22             Q.    Do you remember signing doc- -- two

01:37PM   23   documents in front of Blake Hall as a notary today or

01:37PM   24   not?

01:37PM   25             A.    I don't remember signing anything in

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01:37PM    1   front of Blake as a notary today.

01:37PM    2             Q.    Okay.

01:37PM    3             MR. MEEHAN:     Would you mind if we marked

01:37PM    4   these as *-13A and *-B?

01:37PM    5             MR. POWERS:     No.

01:37PM    6             MR. MEEHAN:     That's okay with you?

01:38PM    7             MR. FRIESS:     Do you want me to make copies so

01:38PM    8   you don't use the originals?

01:38PM    9             MR. MEEHAN:     That would be great, if you

01:38PM   10   would, please.
01:38PM   11             MR. HALL:     Here.    You can use these copies.

01:38PM   12   I don't need separate copies.
01:38PM   13             MR. POWERS:     Let's go off the record -- let's

01:38PM   14   go off the record for a second.

01:38PM   15                   (A recess was taken from 1:38 p.m. to

01:38PM   16   1:39 p.m.)
01:38PM   17                   (Exhibit *-13 was changed to

01:38PM   18   Exhibit *-13A.)

01:39PM   19                   (Exhibit *-13B marked.)

01:39PM   20             Q.    BY MR. MEEHAN:       Okay.    So you have been

01:39PM   21   handed a document that is now marked as *-13A.                It
01:39PM   22   was originally marked *-13, but we have now changed

01:39PM   23   that marking to *-13A.

01:39PM   24                   Do you see that?

01:39PM   25             A.    Yes.

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 2

 3    STATE OF IDAHO                  )
                                      )    ss.
 4    COUNTY OF BONNEVILLE            )

 5

 6

 7        I, Amber S. Williams, Court Reporter and Notary
     Public in and for the State of Idaho, do hereby
 8   certify:
          That prior to being examined Gerald E. Mortimer,
 9   M.D., the witness named in the foregoing deposition,
     was by me duly sworn to testify to the truth, the
10   whole truth, and nothing but the truth;
          That said deposition was taken down by me in
11   shorthand at the time and place therein named and
     thereafter reduced to typewriting under my direction,
12   and that the foregoing transcript contains a full,
     true, and verbatim record of said deposition.
13        I further certify that I have no interest in the
     event of the action.
14        WITNESS my hand and seal this 19th day of
     December 2018.
15

16
17

18

19

20                                        Amber S. Williams
                                          Court Reporter & Notary
21                                        Public in and for
                                          the State of Idaho
22                                        SRL-1080

23

24   My Commission Expires:        06-01-21

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